Firefox          Case 5:21-mj-00224-DUTY Document 4 Filed  03/31/21
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                                                                UNITED STATES DISTRICT COURT
                                                               CENTRAL DISTRICT OF CALIFORNIA

          iJNITED STATES OF AMERICA,                                                ~ Eastern Division
                                                                         Plaintiff, ~
                                            vs.                                       Case Number: 521-MJ-00224                  Out of District Affidavit
                                                                                    ~ Initial App. Date: 03/31/2021              Custody_
          Daniel Rodriguez                                                          i Initial App. Time: 2:00 PM



                                                                       Defendant. ~     Date Filed:
                                                                                  ~     Violation: 18 USC 1512, 18 USC 231, 18
                                                                                  ~     USC 111, 18 USC 641, 18 USC 1 1,
                                                                                  ~     and 18 USC 1752
                                                                                  ~     CourtSmard Reporter:

                PROCEEDINGS HELD BEFORE UNITED STATES                               ~                   CALENDAR/P OCEEDINGS SHEET
                      MAGISTRATE JLiDGE: Sheri Pym                                  ~                    LOCAL/OUT-OF-DISTRICT CASE



             PRESENT:                    Carter, Kimberly                                                           ~                    None

                                           Depu~'Clerk                              W       ~~~~`~
                                                                                    Assistant    '
                                                                                              U.S.  ~     ~
                                                                                                    Attorney                     InterPreter/LanguaSe
                    ❑ INITIAL APPEARANCE NOT HELD -CONTINUED
                      Court issues Order under Fed. R Crim. P. 5(fl concerning prosecutor's disclosure obligations; see General Order 21-02(written order).
                      Defendant informed of chazge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                       ❑ preliminary hearing OR ❑removal heari~/ Rule 20. n,~, _ _~                      ~~~.o/,!     ~
                      Defendant states true name ❑ is as charged         is           ~C~,~                         u1
                                                                                                                     '
                    ❑ Court ORDERS the caption ofthe Indictment/Information be Chang o reflect defen Ys different true name. Counsel are directed to
                       ile all future documents reflecting the true name as stated on the record.
                      Defendant advised ofconsequences of false statement in financial affidavit. ❑Financial Affidavit ordered SEALED.
                    8Attorney: Andrew Byrd, DFPD~( Appointed ❑ Prev. Appointed ❑ Poss. Contribution (see sepazate order)
                       ❑ Special appearance by:
                   ~IGovernment's request for detention is: ❑GRANTED ❑DENIED ❑ WITHDRAWN                              CONTINUED
                    ❑ Defendant is ordered: ❑Permanently Detained ❑ Temporazily Detained (see separate order).
                    ❑ BAIL FIXED AT $                                        (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                    D Government moves to UNSEAL Complaint/Indictment/Information/Entire Case: ❑GRANTED ❑DENIED
                    ❑ Preliminary Heazing waived.
                    ❑ Class B Misdemeanor ❑Defendant is advised of maximum penalties
                    ❑ This case is assigned to Magistrate Judge                                                 .Counsel are directed to contact the clerk for the
                      setting of all further proceedings.
                    ❑ PO/PSA WARRANT ❑Counsel aze directed to contact the clerk for
                      District Judge                                                             for the setting offurther proceedings.
                    ❑ Preliminary Heazing set for                                    at 4:30 PM
                    ❑ PIA set for:                                   at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
                    ❑ Government's motion to dismiss case/defendant                                                only: ❑GRANTED ❑DENIED
                    ❑ Defendant's motion to dismiss for lack of probable cause: ❑GRANTED ❑DENIED
                      Defendant executed Waiver of Rights. ❑Process received.
                   ~❑court ORDERS defendant Held to Answer to                                      District of
                       ❑ Bond to transfer, if bail is posted. Defendant to report on or before
                       ❑ Warrant ofremoval and final commitment to issue. Date issued:                                   By CRD:
                       ❑ Warrant ofremoval and fi co mi ent e/~rdered stayed until
                   ~]Case continued to Dat) ~                            /              (Ti )                                   AM PM
                      Type of Heazing:               ~          ~        Before JuElge                                        /Duty      strate Judge.
                     .Proceedings will be he in the        Duty Courtroom ~                ~           ❑Judge's Courtroom
                      Defendant committed to the custody ofthe U.S. Marshal ❑Summons: Defendant ordered to report to USM for processing.
                    ❑ Abstract of Court Proceeding (CR-53) issued. Copy forwarded to USM.
                    ❑ Abstract of Order to Return Defendant to Court on Next CouR Day(M-20)issued. Original forwarded to USM.
                    ❑ RELEASE ORDER NO:
                    ❑ Other:
                                  PSA ❑ USPO          FINANCIAL                       CR-10       CR-29                     READY
                                                                                                                               Deputy Clerk Initials


                M-5 (10/13)                             CALENDAR/PROCEEDING SHEET -LOCAL/OUT-OF-DISTRICT CASE                                       Page 1 f 1




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